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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1704V
                                          UNPUBLISHED


    BROOKE BIEL,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: June 13, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Bruce William Slane, Law Office of Bruce W. Slane, P.C., White Plains, NY, for
      Petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On November 1, 2019, Brooke Biel filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a right shoulder injury related to
vaccine administration (“SIRVA”), which meets the Table definition for a SIRVA injury or,
in the alternative, was caused in fact by the influenza (“flu”) vaccine she received on
November 2, 2016. Petition at ¶¶ 2, 57-58; Stipulation, filed at June 13, 2022, ¶¶ 1-2, 4.
Petitioner further alleges she received the vaccine in the United States, that she continues
to suffer the residual effects of her SIRVA more than six months post-vaccination, and
that neither she nor any other person has filed a civil action or received compensation for
her SIRVA. Petition at ¶¶ 2, 59-61; Stipulation at ¶¶ 3-5. “Respondent denies that
[P]etitioner’s sustained the onset of a SIRVA Table injury within the Table timeframe and


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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further denies that the flu vaccine caused [P]etitioner’s alleged right shoulder injury, any
other injury, or her current condition.” Stipulation at ¶ 6.

       Nevertheless, on June 13, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

    Pursuant to the terms stated in the attached Stipulation, I award $85,536.85 as
follows:

    1. A lump sum payment of $85,000.00 in the form of a check payable to
       Petitioner; and

    2. A lump sum payment of $536.85, representing reimbursement of a Medicaid
       lien for services rendered to Petitioner by the Pennsylvania Department of
       Human Services, in the form of a check payable jointly to Petitioner and to:

                          Pennsylvania Department of Human Services
                                        P.O. Box 8486
                                Harrisonburg, PA 17105-8486
                                      CIS#: 520152385.

Stipulation at ¶ 8. Petitioner agrees to endorse the check to the Pennsylvania Department
of Human Services for satisfaction of the Medicaid lien. The total amount of $85,536.85
represents compensation for all items of damages that would be available under Section
15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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            In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS



BROOKE BIEL,

                       Petitioner,
                                                              Case No. 19-1704V (ECF)
v.                                                            CHIEF SPECIAL MASTER
                                                              CORCORAN
SECRETARY OF HEALTH
AND HUMAN SERVICES,

                       Respondent.


                                           STIPULATION

       The parties hereby stipulate to the following matters:

       1.       Brooke Biel, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the “Vaccine

Program”). The petition seeks compensation for injuries allegedly related to petitioner’s receipt

of the influenza (“flu”) vaccine, which is a vaccine contained in the Vaccine Injury Table (the

“Table”), 42 C.F.R. § 100.3(a).

       2.       Petitioner received the vaccine on November 2, 2016.

       3.       The vaccination was administered within the United States.

       4.       Petitioner alleges that she sustained a right shoulder injury related to vaccine

administration (“SIRVA”) within the Table time period after receiving the flu vaccine, and

alleges that she experienced the residual effects of this injury for more than six months.

       5.       Petitioner represents that there has been no prior award or settlement of a civil

action for damages on her behalf as a result of her alleged injuries.
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       6.       Respondent denies that petitioner sustained the onset of a SIRVA Table injury

within the Table timeframe and further denies that the flu vaccine caused petitioner’s alleged

right shoulder injury, any other injury, or her current condition.

       7.       Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8.       As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

       a.       A lump sum of $85,000.00 in the form of a check payable to petitioner; and

       b.       A lump sum of $536.85,1 representing compensation for satisfaction of the
                Pennsylvania Department of Human Services lien payable jointly to petitioner and
                to:

                               Pennsylvania Department of Human Services
                                             P.O. Box 8486
                                      Harrisburg, PA 17105-8486
                                            CIS#: 520152385

       Petitioner agrees to endorse the $536.85 check to the Pennsylvania Department of Human
       Services. These amounts totaling $85,536.85 represent compensation for all damages
       that would be available under 42 U.S.C. § 300aa-15(a).

       9.       As soon as practicable after the entry of judgment in this case, and after petitioner

has filed both a proper and timely election to receive compensation pursuant to




1
 This amount represents full satisfaction of any right of subrogation, assignment, claim, lien, or
cause of action the State of Pennsylvania may have against any individual as a result of any
Medicaid payments the State of Pennsylvania has made to or on behalf of petitioner as a result of
petitioner’s alleged injury relating to a vaccine administered on November 2, 2016, under Title
XIX of the Social Security Act, see 42 U.S.C. § 300aa-15(g), (h).
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42 U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys’ fees and costs incurred in proceeding

upon this petition.

       10.     Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act

(42 U.S.C. § 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

       11.     Payment made pursuant to paragraph 8 of this Stipulation and any amounts

awarded pursuant to paragraph 9 of this Stipulation will be made in accordance with

42 U.S.C. § 300aa-15(i), subject to the availability of sufficient statutory funds.

       12.     The parties and their attorneys further agree and stipulate that, except for any

award for attorneys’ fees and litigation costs, and past unreimbursed expenses, the money

provided pursuant to this Stipulation will be used solely for the benefit of petitioner as

contemplated by a strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the

conditions of 42 U.S.C. § 300aa-15(g) and (h).

       13.     In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit, and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely



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brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on November 2, 2016, as

alleged by petitioner in a petition for vaccine compensation filed on or about November 1, 2019,

in the United States Court of Federal Claims as petition No. 19-1704V.

       14.     If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

       15.     If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.

       16.     This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of

the parties hereto to make any payment or to do any act or thing other than is herein expressly

stated and clearly agreed to. The parties further agree and understand that the award described in

this Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       17.     This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner’s alleged right

shoulder injury or any other injury or her current condition.



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       18.     All rights and obligations of petitioner hereunder shall apply equally to

petitioner’s heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




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